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                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TE~NESSEE
                                       AT GREENEVILLE

RICHARD LIVERMORE, Derivatively                       )
on Behalf of Nominal Defendant DEAN                   )
FOODS COMPANY,                                        )
                                                      )
         Plaintiff,                                   )
                                                      )
v.                                                    )
                                                      )
GREG L. ENGLES, LEWIS M. )
COLLENS, TOM C. DAVIS, STEPHEN)
L. GREEN, JOSEPH S. HARDIN, Jr., )
JANET HILL, RONALD KIRK, JOHN R. )
MUSE, HECTOR M. NEV ARES, PETE)
SCHENKEL, JIM L. TURNER, RICK )
FEHR, ALk~ R. BERN             ON, DAIRY ) No.
FARMERS OF AMERICA, INC., )
NATIONAL DAIRY HOLDINGS, L.P., ) (GREER/INMAN REQUESTED)
SOUTHERN MARKTING AGENCY, )
INC., and DAIRY MARKTING )
SERVICES, LLC, ) Jury Trial Demanded
                                                     )
         Defendants,                                 )
                                                     )
and                                                  )
                                                     )
DEAN FOODS COMPANY                                   )
                                                     )
         Nominal Defendant.                          )

                      VElU.Fll.D SHAllHOLDER DERIVATIVE COMPLAINT
           Plaintiff, by the undersigned attorneys, submits this Verrffed Shareholder Dervative

Complaint on behalf of Dean Foods Company ("Dean Foods" or the "Company") against the

defendants named herein.

                            NATURE AND SUMMARY OF THE ACTION

                     Over the past decade, competition in the U.S. milk market has all but disappeared

as a result of improper and i1egal anticompetitive practices employed by Dean Foods. Certain
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executive officers and directors of the Company (the "Individual Defendants" as further defined

herein) established and continue to implement a scheme to ilegally manipulate and control the

marketplace. As the largest buyer and bottler of Grade A milk in the country, Dean Foods has

restricted access by dairy farmers to the Company's Grade A milk bottling plants and has

engaged in price-fixing. Dean Foods' anti                       competitive conduct directed and implemented by the

Individual Defendants has resulted in dairy faners being drastically underpaid for the milk they

produce and the A11encan publlc bemg forced to pay unduly high retail prices for the milk it

consumes.

           2.         On December 21, 2001, Dean Foods was created through the merger of the two

largest dairy companies in the United States (the "Merger"), Suiza Foods Corporation ("Suiza")

and the former Dean Foods Company ("Fonner Dean Foods").                                  The Merger was heavily

investigated by the Department of Justice ("DOJ"), which required substantial divestitures and

other coneessions to grant the Merger regulatory approvaL. Nevertheless, once the Merger was

completed the Individual Defendants implemented their scheme lo restrict dairy fanners' access

to the Company's bottllng plants and keep the pnces it paid for raw Grade A milk artificially

low, effectively creating a monopsony - a market with a single dominant buyer.                               These

anti   competitive practices have seriously damaged the Company, as numerous antitrst actions

have been brought by independent dairy farmers against Dean Foods. Moreover, while the

Individual Defendants were engaging 11 these improper and illegal anhcompet1hve practices,

artificially inflating the price of the Company's stock, certain of the Individual Defendants sold

more than $256 milion of                Dean Foods common stock with the knowledge of            and on the basis of

these anticompetitive practices.




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                                               JURISDICTION AND VENUE

           3.         This court has subject matter jurisdiction pursuant to 28 U,S.c. §1332 in that

Plaintiff and Defendants are citizens of different states and the amount in controversy exceeds

$75,000.00, exclusive of interest and costs.                               This action is not a collusive one to confer


jurisdiction on a eouui of the United States which it would not otherváse have.

           4.         Venue is proper in this Distrct pursuant to 28 U.S.C. §139l(a) and (c) as a

substantial part of               the events or omissions giving rise to the claim occured in this District. For

example, Dean Foods has numerous subsidiaries located in the State of Tennessee that were

complicit in the misconduct alleged herein.                                Further, defendants have received substantial

compensation in this distrct by engaging in numerous activities and conducting business here,

which had an effect in this district. This action is related to the consolidated antitrust action

styled In re: Southeastern Milk Antitrust Litigation, MDL No. 1899, Master File No. 2:08-MD-

1000, that is currently pending in the U.S. District Couut for the Eastern Distnct of                     Tennessee.

                                                                 PARTIES

           5.         Plaintiff       Richard Livermore is a shareholder of Dean Foods, was a shareholder of

Dean Foods at the time of the wrongdoing alleged herein, and has bccn a shareholder of Dean

Foods continuously since that time. Plaintiff Richard Livemiore is a citizen of the State of

Florida.

           6.         Nominal Defendant Dean Foods is a corporation organized and existing under the

laws of Delaware with its principal executive oftìces located at 2515 McKinney Avenue, Suite

1200, Dallas, TX 75201. According to the Company's public tìings, Dean Foods is one ofthc

leading food and beverage companies in the United States. Its Dairy Group segment is the

largest processor and distrbutor of milk and other dairy products in the country, with products

sold under more that fifty (50) local and regional brands and a \'tiide vanety oflabels. The Dairy


                                                                - -'.. -
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Group's net sales totaled $10.45 bilion in 2007, or 88% of Dean Food's consolidated net sales.

The current Dean Foods was formed in 2001 when the company's predecessor Suuza merged


with former Dean roods and changed the name of the combined company to Dean Foods

Company.

           7.            Defendant Gregg L. Engles ("Engles") has sered as a director of            Dean Foods and

its predecessor Suiza since October 1994. Englt:s st:rved as Chief Executive Officer and Vice

Chairman of the Board ITom December 2001 to April 2002, at which point he was elected

Chairman of the Board. Prior to the formation of the current Dcan Foods, Engles servcd as

Chairman of the Board and Chief Executive Officer of certaIn predecessor companies, including

S uiza.     He has been a member of the Executive Committee of the Board (the "Executive

Committee") since 2001 and was a member of t.he Strategic Planning Committee of the Board

(the "Planning Committee") from 2001 to 2008.1 .Upon ínfonTiation and belief, Defendant

Engles is a citizen of            the State of      Texas.

           8.            Defendant Lewis M. Callens ("Collens") has served as a director of the Company

since December 2001, when he was elected to the Board in connection with Suuza's acquusit10n

of Foomer Oean Foods. Collens served on the Board of Directors of Former Dean Foods from

1991-2001           Callens has been a member of the Audit Committee of the Board (the "Audit

Committee") since 2001                     Upon information and belief, Defendant Collens is a citizen of the

State of I1inois.

           9.            Defendant Tom C. Davis ("Davis") has served as a director of the Company since

March 2001            Davis has been a member of the Audit Committee since 2004 and served on the



i The Company's April 21, 2008 Proxy Statement indicates that the Planning Committee was dissolved during the
first quarter of2008. However, the Company's website stil indicates the existence ora Planning Committee
comprised of   Defendants Engles, Green, Hardin and Kirk.


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Planning Committee from 2001 to 2003. Upon information and beJief, Defendant Davis is a

i.-itizen of1he State of         Texas.

             10.      Defendant Stephen L. Green ("Green") has served as a director of Dean Foods

and its predecessor Suiza since October 1994.                                   Green has been a member of the Audit

Committee and the Compensation Committee of the Board (the "Compensation Committee")

since 2001, a member of               the Executive CommIttt:e since 2007 and was a member of               the Planning

Committee from 2001 to 2008. Upon infonnat1on and belief, Defendant Green is a citizen of                            the

State of Connecticut.

             11       Defendant Joseph S. Hardin, Jr. ("Hardin") has served as a director of                Dean Foods

and its predecessor Suiza since May 1998, and currently serves as the company's Lead Director.

Hardin has been a member of the Compensation Committee since 2001, the Governance

Committce of the Board since 2002 and the Executive Committee since 2003. Previously,

Hardin served on the Nominating Committee of the Board (the "Nominating Committee") in

2001 and the Planning Committee from 2001 to 2008. Upon information and be1ieC Defendant

Hardin is a c1T1zen of the State of Cali                forn   i a.


             12.      Defendant Janet Hil ("Hil") has served as a director of the Company since

December 2001, when she was elected to the Board in coimection with Suiza's acquisition of

Former Dean Foods. Hil served on the Board of Directors of Former Dean Foods from 1997 to

December 2001. Hill has served as a member of the Govemance Committee since 2002 and

served on the Nominating Committee in 2001. Upon information and belief, Defendant Hil is a

citizen of        the Commonwealth ofYirginia.

             13.      Defendant Ronald Kirk CKirk") has served as a director of the Company since

February 2003 Kirk has served 011 the Governance Committee since 2006 and was a member of




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the Governance Committee in 2003 and the Planning Committee from 2004 to 2008. Upon

information and belief, Defendant Kirk is a citizen of                          the State of       Texas.

           14.        Defendant John R. Muse ("Muse") has served as a director of Dean Foods and its

predecessor Suiza since November 1997. Muse has served as a member of the Compensation

Committee since 2007. Upon information and belief, Defendant Muse is a citizen of the State of

Texas.

           15.        Defendant Hector M. Nevares ("Nevares") has served as a director of                            Dean Foods

and its predecessor Suiza since 1994. N evares was President of Suiza Dairy (Puerto Rico) from

June 1983 until September) 996, having served in additional executive capacities at Suiza Dairy

(Puero Rico) since June 1974. Nevares served as a consultant for Suiza from March J 998 until

April    2000. Nevares has served as a member ofthe Audit Committee since 2005, and served as

a member oftne Compensation Committec from 2004 to 2005 and as a member ofthe Executive

Committee ITom 2001 to 2003. Upon information and belief, Defendant Nevares is a citizen of

the Terrtory of         Puerto Rico.

           16.        Defendant Pete Schenkel ("Schenkel") nas served as a director of                            Dean Foods and

its predecessor Suiza since January 2000. Schenkel joined the Board of Directors of Suiza in

J Clnuary 2000 in connection with the acquisition of Southern Foods Group that formed Suiza

Dairy Group ("SDG"). Schenkel also served as President of SDG until the Merger and then he

became the President of Dean's Dairy Group until he retired ITom the position on December 3 i,

2005.        Schenkel served as a member of the Executive Committee from 2003 to 2005. Upon

infonnation and belief, Defendant Schenkel is a citizen of                               the State of    Texas.

           17.        Defendant Jim L. Turner ("Turner") has served as a director of Dean Foods and

its predecessor Suiza since January 2000. Turner has served as a member of the Governance




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Committee since 2002 and as a member of the Compensation Committee since 2005.

Previously, Turner served as a member of the Audit Committee and the Plannmg Committee

from 200 I to 2003 and as a member of the Nominating Committee in 2001. Upon intormation

and belief, Defendant Turner is a citizen of                     the State of   Texas.

             18.         Defendant Rick Fehr ("Fehr") has served as Senior Vice President, Business

Optimization of the Company since November 2006.                                     Previously, Fern served as Chief

Operating Officer of the Southeast Region from February 1998 to December 2005, and after a

regional realignment served as Chief                     Operating Officer ofthc East Region from January 2006 to

November 2006. Upon information and belief, Defendant Fehr is a citizen of                         the State of   Texas.

             19.         Defendant Alan J. Beman ("Beman") served as a director of Dean Foods and its

predecessor Suiza from 1997 until his resignation on May 29,2008- Bemon also served as Chief

Operating Officer of Dean Foods' Northeast Region as well as a member of the Company's

management team until May 29, 2008. Upon infonnation and belief, Defendant Bemon is a

citizen of     the State of      Texas.

             20.         Defendant Dairy Farn1ers of Amenca, Inc. ("DFA") is a Kansas corporation with

its headquarters located in Kansas City, Missouri. DFA is the largest dairy cooperative in the

United States. DFA cUlTendy represents more than 18,000 dairy farmers in 48 states. DFA

controls about one-third of dairy far milk supply in the United States. DF A was fanned in

1998 by Joming four of                 the nahon's leading dairy cooperatives, ASSOciated Milk Producers, Inc.,

Mid-America Dairymen, Inc., Milk Marketing, Inc. and Western Dairymen Cooperative, Inc-

D F A is a not - for-profit corporation. Since its inception in 1998, DF A has made substantial

investments in the milk processing business, and in partìcular, in the Grade A milk bottling


business. Through joint ventures, DF A has positioned itself as a national player and has become




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the fourt largest processor of Grade A milk in the country. DFA fu11y or partial1y owns eight


fluid Grade A milk bottling plants (not including NDH, as defined below) and is the third largest

tluud Grade A milk bottler in the Southeast.

        21.    Defendant National Dairy Holdings, L.l., ("NOH") is a Oelaware limited

parership with its headquarers located in Dallas, Texas. NDH is a Grade A milk bottling

company that is a subsidiary ofDFA that manages and operates all ofDFA's fluid Grade A milk

bottl1Og plants. In 2001, Alan A. Meyer and two fanner high-level Suiza executives, Cletes O.
IITex" Beshears (Vice Chainnan of the Board of Dircctors, Prcsident & COO) and Tracy Noll

(CFO), joined with DF A as investors to create NDH. Meyer seres as the Chief Executive

Officer of NDH. The pUIpose of fomring NDH was so that Dean Foods could meet certain

reqmrements imposed by the DO! 10 order to approve the Merger.            Specifical1y, the DO!

required that Former Dean Foods divest 11 bottling plants bcforc merging with Suiza, so Dean

Foods, along with DFA and Meyer, created NDH to acquire the bottling plants in order to give

the appearance that there was greater competition in the bottling market. Upon its formation,

NOH became the second largest fhiid Grade A milk bottler 10 the country. NDH owns at least

nine fluid Grade A milk bottling plants in the Southeast and is the second largest fluid Grade A

milk bottler in the Southeast.

       22.     Defendant Southern Vlarketing Agency, Inc., ("SMA") is a Kentucky not-for-

profit corporation with its headquarters located 10 Louusvile, Kentucky.       SMA is a milk

marketing agency that operates exclusivcly in the Southcast. SMA began operating in April

2002 and its members include a number of independent dairy fanners and dairy cooperatives,

including DFA.     SMA is an entity created and controlled by DF A in order to further its

conspiracy with Dean Foods to ilegal1y control the milk market in the Southeast. The pUIpose




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of    SMA is to market all Grade A milk sold in the Southeast by DFA's cooperative members and

the independent dairy farmers that stil exist in the region. Dean Foods and DF A use SMA to

monntor pnces for raw Grade A milk paid to independent dairy farmers and cooperatives other

than DF A in order to fix prices tor raw Grade A milk paid to dairy fanners throughout the

Southeast market.

          23.    Defendant Dairy Marketing Servces, LLC, ("OMS") is Delaware corporation

with its headquarers located in SyTaCiiSe, NY       OMS markets Grade A milk for independcrt

dairy tàrers and cooperatives. DMS, hke SMA, is an entity created and control1ed by DFA in

order to further its conspiracy with Dean Foods. DF A has used DMS as a front organzation to

mislead dairy farmers who are scared of DFA's tactics and erroneously think that OMS is

dislÍnct from DFA. DMS has ægional offces across the United States. DMS's primary focus is

improving the effciency of hauling milk. DMS was fom1ed in 1999 through an agreement

between DFA and another dairy cooperative in the Northeast. Since its inception, DMS has

become a dominant player in the miIk marketing business in the Southeast. DFA is DMS's

largest fluid Grade A milk customer. DMS is controlled by DFA. As is the case with SMA,

DMS has assisted Dean, DFA al1d NDH to monitor prices paid tor raw Grade A milk in order to

fix prices for raw Grade A milk paid to dairy fanners throughout the Southeast market.

          24.    Collectively, Defendants Engles, Collens, Davis, Green, Hardin, Hill, Kirk, Muse,

N evares, Schenkel and Tumer are referred to herein as the "Director Defendants."

         25.    Collectively, Defendants Engles, Collens, Davis, Green, Hardin, Hil, Kirk, Muse,

Nevares, Schenkel, Turner, Fehr and Bernon arc referred to hercin as the "Individual

Defendants. "




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           26.         Collectively, Defendants DF A, NDH, SMA and DMS are referred to herein as the

"Co-conspirator Defendants. "


                               DUTIES OF THE INDIVIDUAL DEFENDANTS

           27.        By reason of their positions as officers, directors, and/or fiduciaries of Dean

Foods and because of their ability to controltlle business and corporate affairs of Dean Foods,

the Individual Defendants owe Dean Foods and its shareholders fiduciary obligations of good

faith, loyalty, and candor, and were and are required to use their utmost ability to eontrol and

manage Dean Foods in a fair, just, honest, and equitable manner. The Individual Defendants

wt:re and are reyuirtd to act in furthenini.e of the best interests of Dt:an Foods and its


shareholders so as to benefit all shareholders equally and not 11 furtherance of their personal


interest or benefit. Each director and offcer of the Company owes to Dean Foods and its

shareholders the fiduciary duty to exercise good tàith and diligence in the administration of the

al1à.irs of the Company and in the use and preservation of its properly and assets, and ihe hight:st

obligations of        fair dealing.

           28.        The Individual Defendants, because of their positions of control and authority as

directors and/or officers of          Dean Foods, were able to and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein, as well as the contents of the various public

statements issued by the Company.                 Because of their advisory, executive, managenal, and

directorial positions with Dean Foods, each of the Individual Defendants had knowledge of

material non-publlc infonnation regarding the Company.




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       29.     To discharge their duties, the officers and directors of Dean Foods were required

to exercise reasonable and prudent supervision over the management, policies, practices and

controls of the Company. By virte of such duties, the officers and directors of Dean Foods

were required to, among other things:

               a.     exercise good faith to ensure that the affairs of the Company were
                      conducted in an efficient, business-like manner so as to make it
                      possible to provide the highest quality perfonnance ofits business;

              b.      exercise good faith to ensure that the Company was operated in a
                      diligent, honest and prudent manner and complied with the
                      Company's by-laws and all applicable federal and state laws, rules,
                      regulations and requirements, including acting only within the
                      scop~ of its l~ga1 authority;

              c.      refrain from acting upon material inside corporate infonnation to
                      benelìt themselves.

       30.    Additionally, the Company's Code of Ethics, which applies to all directors,

officers and employees of Dean Foods, states, among other things, the following:

              This Code of Ethics is intended to infom1 all directors, offcers and
              employees of Dean Foods Company and its subsidianes of theiT ethical
              obligations. As you wil see, we have set a high standard of conduct.
              Adherence to this Code of Ethics is vital to maintaining a business in
              which we may all take pride and is paramount to our continued sucçess.
                                              *       *    *


              OUl Company is committed to doing business with honesty and integrity.
              Each and everyone of    us is expected to compJy with the Code of Ethics at
              all times. A lone violatlOn of this Code of Ethics by any individual could
              have devastating consequences for our stakeholders, our Company and the
              livelihoods of us alL. Even the appearance of improper behavior is
              unacceptable.
                                              *       *   *


              Antitrust and Competition Law Many routine business activities can
              present issues and challenges under the antitrust laws. If you are involved
              with establishing our prices or terms of sale, bidding for contracts, or
              dealing with customers, distributors or suppliers, you are expected to be
              familiar with the antitrust laws applicable to our husmess and wi)) receive


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          special antitrst compliance training. Understanding and complying wwth
          antitrust laws is essential to our continued succcss. At a minimum, you
          should never:

              .   make any agreement with a competitor regarding pricing of our
                  products in the marketplace, pricing practices, bids, bidding
                  practices, terms of sale or marketing practices;

              .   agree with a competitor to coordinate or allocate bids;

              .   divide customers, markets or temtories with a competitor;


              .   agree with a competitor not to deal with another company;

              .   attempt to control a customer's resale price;

              .   ilegally discriminate unfairly between customers regardmg price
                  or other terms;

              .   il1egal1y force a customer to buy one product in order to get
                  another product;

              .   or engage in any other unfair methods of competition or deceptive
                  acts or practices.

          Our Legal Depaiiment can advise you on what conduct is or is not
          permissible under the antitrust 1aws. Under the antitrust laws, a prohibited
          agrccmcnt with a competitor or customer does not have to be a written
          cuntract or il1vul ve an express commitment. A "nod and wink" tacit
          understanding or even silent approval may be suffcient. Since we operate
          in a highly competitive environment in which prices may be similar
          among competitors, it is important to avoid even the appearance of an
          ilegal agreement. Therefore, it is our policy that (unless it has been
          approved by our Legal Department) you may not discuss with any
          competitor any sensitive su~iect such as customer pricing, bids or bidding
          practices, costs, production levels, sellng stratcgics, terms or conditions of
          sale, markee shan:s, territories or custorm::r lists. If, for Lsic) tums to
          prohibited subjects, you must not participate in the discussion. Instead,
          you should leave the meeting, if necessary, and promptly report the
          incident to our Legal Departent. Similarly, you must never send or
          receive any information of a type described above directly to or from a
          competitor.
                                        *       *       *


          Securities Trades If you possess any materal information about our
          Company thal we have not yet disseminated to the public, you must not.
          buy or sell our stock or other securities ofthe Company, including options,


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                       puts, calls and other derivatives; pass such information on to anyone else
                       (even to other employees, unless they have a business need to know); or
                        engage in any other action to take advantage of any non-public materia1
                        information.

                        "Material" information includcs any information an investor would
                       consider important in deciding whether to buy or sell our securities. Either
                       positive or negative information may be "materia1."

                 31     According1y, the Company's Code of Ethics imposes add1tion                                         al ob11gations,


duties and responsibilities on the Individual Defendants to operate the Company in an ethical

manner. Moreover, the Company's Corporate Governance Principles set fort the fol1owing

"n:sponsibilities of          the Board of        Directors of         the Company":

                        1    Represent the interests of the Company's shareholders in l1aintainnng and
                             enhancing the success of               the Company's business, including optimizing long-
                             tenn returns to increase shareholder value.


                       2. Select and evaluate a well-qualified Chief                        Executive Officer ("CEO") of             high
                             integrity, and approve other members of the senior management team.
                       ..
                       j. Oversee and interact with senior management with respect to key aspects of
                             the business inc1uding strategic planning, management development and
                             succession, operating perfoimance, and shareholder returns.

                       4. Provide general advice and counsel to the CEO and senior executives.


                       5. Adopt and oversee compliance with the Company's Code of Ethics. Promptly
                           disclose any waivers of the Code of Ethics for Directors or executive officers.

                       6. Formally evaluate the pertormancc of the CEO and senior management cach
                           year in executive sessions.

                 32.   The Company's internal governance documents impose a heightened fiduciary

responsibility         on the Individual Defendants, such that they must comply with the requirements of

those documents in managing and directing the Company.

                                                   FACTaAJ                           .A TIOl\S

Definitions

                 33.   The fol1owing entities and individuals are relevant to this complaint:



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            34.        "SDG" means Suiza Dairy Group, a subsidiary of Suiza that owned and operated

all of Suiza's milk bottling plants. In January of 2000, DPA entered into a joint venture with

Suiza and formed SDG. Suiza contributed all of its fluid Grade A milk boWing operations to

SDG, and DFA contrbuted its share of Southern Foods Group, LP., a joint venture between

DFA, Dcfcndant Schenel and Meyer (as defined below). Through the joint ventue, DFA

received a 33.8% ownership stake in SDG.                                    After DP A and Suiza purchased Defendant

Schenkel's stake in SDG for S 1 00 millon, Defendant Schenkel was elt:cted to tht: Board of

Directors of Suiza in January 2000. Schenkel has served as a Director of Dean Foods since

Suiza merged with the Former Dean Foods.

            35.       "Mid-Am" means Mid-Am Capital, LLC, a subsidiary of DFA. Mid-Am was

formed by DFA and Dean Foods and other individuals to provide capital to and make equity

1lvestments in dairy processing and Huud Grade A milk bottling operations. Upon infonnation

and belief, DF A management has invested tremendous amounts of DF A member dairy farmers'

monies and equity, and borrowed more than $1 bi1ion, to finanee DFA's acquisitions of                       Grade A

rnílk processing operations identified in the preceding paragraphs, and other properties. lvEd-Am

also provided NDH with more than $400 minion In financing in order to purchase the 1 i bottling

plants that were divested by the Former Dean Foods and Suiza during the merger.

            36.       "Meyer" means Alan A. Meyer, a founder and owner of Southern Foods Group

with DF A and SchenkeL.                     Southern Foods Group eventually merged with Suiza' s bottling

operations to fonn SDG. Meyer is also a founder and partiaJ owner ofNDH. Today, Meyer is

the Chief     Executive Officer ofNDH.

            37.       "Baird" means James Baird, the manager of SMA and the principal owner of

Lone Star Milk Transport, Inc., BullsEye Transport, LLC and BullsEye Logistics, LLC




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(collectively "Bul1sEye"). Baird is also an officer, director, and general manager of Lone Star, a

dairy cooperative based in Texas.      Dean Foods and DF A have agreed to use Bul1sEye to

transpoi1 Grade A mí1k produced by SMA's member cooperatives. Upon infonnatton and belief,

Baird transports unnecessarily large quantities of Grade A milk for SMA from the Southwest to

the Southeast, and also transports Grade A milk for SMA unnecessarily long distances within the

Southeast.

Overview

       38.     Over the past two decades, competition in the U.S. milk market has eroded


drastically. The decline in competition is a deliberate strategy between Dean Foods, the largest

milk processor in the country, and DFA, the largest dairy farmers' cooperative in the country.

Dean Foods' and DFA's antitrst conspiracy to ilegally manipulate and control the milk market

doubly taxes society. First, dairy farers are drastically underpaid for the milk they produce,


and second, the public is forced to pay unduly high retail prices for the milk it consumes.

       39.     Because Dean Foods and DF A have nearly total control of all tbe milk produced

and bottled in the Southeast region of the United States, the etIects of the conspiracy are

manifest. Production in the region has declined, yet contrary to what would be expected if the.

market were functioning properly, the prices that dairy fàrmers in the Southeast have received

for their milk has also declined.

       40.     In fact, the Merger was merely the natural cxtcnsion of the anti-competitive

conduct being practiced by the Former Dean Foods, Suiza, and DFA prior to the Merger. Dean

Foods and OF A have continued their improper behavior, resulting in a rigged system that

continues to han producers and consumers of milk, for the benefit of Dean Foods. As a result of

Dean Foods' and OF A's manipulation of the milk market, the number of dairy farmers in the

United States has decreased substantially.      According to the United States Department of



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Agriculture ("USDA"), ITom 1997 to 2007 the number of dairy farers in the country has


declined ITom approximate1y 99,000 to 59,000.

             41             In the Southeast, Dean Foods and DFA have effectively established a monopsony

within the milk botting market. In economics, a monopsony is a market form in which only one

buyer faces many sellers. It is an example of imperfect competition, similar to a monopoly, in

which only one seHer faces many buyers. As the only purchaser of a good or servce, the

"monopsonist" (in tliis case, Dean Foods) may dictate terms to its suppllers 11 the same manner

that a monopolist controls the market for its buyers.

             42.            As a result of the monopsony, Dean Foods has generated and continues to

generate artificially high profits, and DF A's market power, at the direction of Dean Foods, has

become a tool used against dairy fanners.

Tlle Milk Business

             43.            Milk is produced in all 50 States and is primarily produced by individuals or


families who own and operate their own dairy farms.

             44.            Milk comes in two different categories, Grade A and Grade B. Grade A milk is

the highest quality milk that is produced in the United States. Grade A milk is eligible for use in

fluid products, while Grade B milk is only eligible for the production of manufactured dairy

products, such as cheese, butter and milk powder. The Grade A milk market is regulated by the

federal go        v el1rr    ent   , the Grade B milk market is not. Today, most milk that is produced 11 the

United States meets Grade A milk standards; however, according to thc USDA, only about onc-

third of thc Gradc A milk that is produced each year is actually processed into fluid milk and

cream products.




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       45.     Grade A milk is highly perishable, and therefore, it is produced on a daily basis.

Cows are milked each day on the dairy farm and milk is then stored in refugerated tanks until it

is picked up and delivered to a bottling plant.     Milk is usually picked up and delivered to a

bottling plant on a daily basis by a milk hauler. At the bottling plant, the milk is processed and

packaged for human consumption. The bottling plant then sells the milk wholesale or retaiL.

       46.     Most dairy fanners do not sell their Grade A milk directly to milk bottlers; rather,

they sell through a dairy cooperative. A dairy cooperative is an association of dairy fanners who

agree to collectively "market" their milk. The marketing process generally consists of locating

buyers, negotiating sales prices, coordinating the hauling process, recording and reporting data

for market regulation purposes, conùucting sanitation testing, anù proct:ssing paymt:nts to its

members. The reason a daary fanner would want to become a member of a dairy cooperative is

because of the incrcase in bargaining power that comes out of the individual dairy farers acting


collectively. Hypothetically, if a fanner were independently able to sell 1 Lb of milk to a dairy

proct:sor for $1.50 and a dairy cooperative could use its bargaining power to sell that same 1 Lb

of milk for $1.80, the farmer would be happy to go through a cooperative as long as the

cooperative charged the fanner less than $0.30 to sell the 1 Lb of milk.

       47.     A dairy cooperative is member-owned or member-controlled and operated for the

exclusive benefit of its members. Most importantly, the goal of a cooperative is to get tht:

highest price possible for the raw milk produced by its fanners.

       48.     While the majority of dairy farmers belong to dairy cooperatives, there are dairy

fanners that are not members of a dairy cooperattve.          These faners are referred to as
'Cindependent dairy fanners." These farers market their milk directly to botting plants.




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            49.       The milk business is a highly regulated industry, and therefore it does not operate

within a traditional competitive market enviwmnent. There are both federal and state regulations

that govern sanitation standards as well as market vaiiables, such as pncing and output.

            50.      There are certain characterstics of milk and economic conditions of the milk

industry that explain why the government has chosen to implement regulatory schemes. These

characteristics include, but are not Jimited to the fol1owing:

                      a.         Milk is a perishable product and must be harvested daily.

                      b.         Producers outnumber processors (bottlers) 20 to I.

                      c.         Health regulations are insufficient to assure an adequate supply of milk.

                      d.         Production is highest when demand for fluid milk is at a season low.

                      e.         Milk is viewed as a necessary food item, particularly for children.

            51.       Without govcmmcnt intervention, there is a strong potential for volatile

production and improper marketing practices. Supply and demand within the milk market would

be out of     balance for extended periods of        time, resulting in much greater volatility in the price of

milk.

            52.       Pursuant to the 1937 Agricultual Marketing Agreement Act ("AMAA"), the

USDA establishes mi111TUm prices for the sale of raw Grade A milk depending on the "Class"

for which the milk is to be used. The Secretary of the USDA classifies Grade A milk into four

classes.

                      - Class 1: Class 1 milk is uscd in bcverage milk products for human consumption.

                      - Class II: Class II milk is commonly used to manufacture cream products such as

                     yogur, sour cream, cottage cheese, and ice cream.




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                 - Class II: Class II milk is used to produce hard manufactured cheeses and

                 cream cheese.

                 - Class IV: Class IV milk is used to produce butter and any mi1k in dry form.


       53.       USDA minimum prces for Grade A milk represent the minimum price that fluid

Grade A milk botters must pay for each class of Grade A milk that is sold pursuant to USDA

regulation. Class I is the most expensive because its end-use is solely fluid. Classes II, II and

iv are used to manufacture non-fluid dairy products, and therefore minimmii prices for these


Classes of milk are lower than the pnce paid for Class I milk. Pursuant to the AMAA, prices for

each Class are calculated on a monthly basis.

       54.       In addition to class distinctions to establish minimum prices for the sale of raw

Grade A milk, the AMAA instructs the USDA to divide the country into different regions. Thus,

011 a monthly basis, the Secretary of the USDA not only calculates minimum prices for each

class of Grade A milk (Class I through Class iV), but also calculates specific prices for each

class in each geographic region of the country.

       55.       The geographic break up of the country into regions is referred to as the Federal

Milk Market Ordering system. Each geographic region of the country is referred to as a federal

Milk Market Order ("FMMO" or "Order"). Currently, there are i 0 Orders in United States.

       56.       Orders 5 and 7 cover the Southeast region of the country and represent the

geographic region that is pertinent to this complaint. Order 5 consists of raw Grade A milk

produced in North Carolina, South Carolina, and portions of Georgia, Indiana, Kentucky,

Tennessee, Virginia, and West Virginia. Order 7 consists of law Grade A milk produced in

Alabama, Arkansas, Mississippi, Louisiana, and parts of Florida, Georgia, Kentucky, Missouri,

and Temiessee.




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        57.     As mentioned above, Class I fluid Grade A milk is not interehangeable with Class

II, II or iv Grad~ A milk b~i.aus~ Class II, II and iv constitute non-fluid end-uses, and


therefore they are less valuable Nevertheless, when raw Grade A milk is sold to a bottler, the

milk is not predetermined to be milk of a paricular Class. Instead, dairy farmers are paid a

weighted average, or "blend," price for all uses of milk in a particular Order. This process is

referred to as "pooJing."

        58.    USDA regulations mandate that fluud Grade A milk bottlers pay at least the

weighted uniform average or minimum blend price for fluid Grade A milk that is pooled in an

Order. Processors (both fluid bottlers and other non-fluid processors) pay into or draw milk out

of a paricular pool on the basis of their utilization of milk relative to the market average


utilization for the Order.

        59.     Dairy fanners participating in the pool receive identical uniform blend prices,

with eertain adjustments such as the location of the bottling plant to which the milk is delivered.

       60.     As a result of changes in production and demand as well as uneven distribution,

milk prices frequently differ between Orders. One major factor is seasonal change. In Orders 5

and 7, whcrc demand for bottled fluid Grade A milk often exceeds Grade A milk production,

Class I utilization has traditionally exceeded 70 percent of the Grade A milk provided for

processing. In other regions, such as the Southwest, where demand for bottled fluid Grade A

milk does not exceed Grade A milk production, the percentage of Class I utilization may often be

as low as 40 percent.

       6 i.    Orders with high Class i utilzation general1y have higher FMMO minnmum blend

prices than Orders with lower Class I utilIzatIon.




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       62.     Traditionally, because of supply and demand in the marketplace, as well as

cooperatives and independent dairy farmers negotiating with milk bottlers for prices for raw milk

that exceed the FMMO piices, processors and bottlers have paid prices for classes of Grade A

milk that are above the FMMO prices established each month by the USDA.

       63.     The amount by which the price for Grade A milk exceeds the FYIMO price is

generically refered to as an "over-order payment" or an "over-order premium." For Orders 5

and 7 in particular, it is important to note that dairy fanners depend on delivering as much milk

as possible to fluid Grade A milk bottlers because providing milk to non-fluid processors is far

less valuable, as non-fluid processors do not pay over-order payments. This is not always the

case for Grade A milk produced and sold within other Orders around the country.

       64.     The actual price a dairy farmer receives for Grade A milk is known as the

"mailbox price." The mailbox price that a dairy tanner receives is comprised of the federal

minimum price, plus any over-order premium, and any bonus for volume and/or quality, minus

any marketing costs that were incurred. Marketing costs are expenses incurred by the dairy

cooperative on behalf of its member farmers, and they include, among other things, the costs of

locating buyers, negotiating sales prices, coordinating thc hauling process, recording and

reporting data for regulatory purposes, performing santation testing, and processing the


payments to its farmers.

       65.     In Orders 5 and 7, historícal1y, demand often exceeded supply of Grade A Class I

Grade A milk and fluid Grade A bottlers had to make over-order payments to secure the milk

necessary for processing. As a result, mailbox prices were higher than FMMO prices. This is no

longer the case. Through the conspiracy established and orchestrated by Dean Foods and DF A,

and several affliate entities controlled by Dean Foods and DFA, mailbox prices have been fixed




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and kept artificially lower than they would be if the market were to operate in a lawful

competitive environment.

The Southeast Dairv Market
           66.        Dean Foods and DFA (though its bottling operations that are operated by its

subsidiary NDH) own at least 33 of the approximately 51 fluid Grade A milk bottling plants that

operate in the Southeast. These 33 plants, upon infonnation and belief, represent 77 percent of

the fluid Grade l\ milk bottling capacity in the Southeast. Dean Foods and DF A have behaved in

an anti   competitive manner in the Southeast more so than in any other region of           the country.

           67         DFA has fu11-supply agreements with - and control over access to - these 33


plants. This means that DF A has the exclusive right to serve as the supplier of raw Grade A milk

to these plants. As a result of              these full-supply agreements, and because dairy fanners depend on

access to bottling plants in their region for their Jive1ihood, DFA has manipulated the market so

that dairy farmers in the Southeast have Jittle choice but to go through DF A in order to sell their

milk within the region.

           68.        The supply of fluid Grade A milk is integral to the operation of fluid Grade A

milk bottling plants owned by Dean Foods. Upon information and belief, approximately 85

percent of Dean Foods' revenues are derived horn sales of processed Grade A milk products.

Through its conspiracy with Df A, Dean foods controls the prices paid for raw Grade A milk.

By controlling Grade A milk prices in the Southeast, Dean has depressed, fixed and stabilized

the prices paid for raw Grade A milk in the region, and this has substantially increased its profit

maTgins.

The Mer2:er

           69.        During the 19905, the dairy industry experienced a period of systematic

consolidation. Upon infonnation and belief, many of the lluid Grade A milk bottling plants


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acquired by Suiza, the Former Dean Foods and DPA during their unprecedented, rapid

consolidation of thi; 19908 were purchased at extremely high price-to-revenue or price-to-profit

multiples. The unprecedented consolidation in the dairy industry culminated in 2001 with the

Mcrgcr betwccn thc Formcr Dean Foods and Suiza.

           70.        After the Merger, Dean Foods emerged as the largest milk processor of fluid

Grade A milk in the country. Dean Foods also became the largest fluid Grade A milk bottler in

the Southeast.

           71.         Before the Merger, DF A controllcd more than 50 percent of the Grade A milk

produced in the Southeast. At that time, DF A was also the fourth largest milk processor in the

United States. Before the Merger, DFA owned a 33.8% stake in SDG, Suiza's milk bottling

subsidiary. Today, DFA controls approximately 90 percent of                 the fluid Grade A milk produced

in the Southeast.

           72.         Starting in the spring of 2001, Suiza and Former Dean Foods began foimaUy

working on plans to merge the two companies. The two companies anticipated that thi; DOJ

would have antitrust concerns with regard to the Merger, anrl they were correct.

           73.        The DOl was concerned that the Merger would impact both horizontal and

vertical aspects of the miJk market. The horizontal implications of a merger between the two

biggest dairy processors in the country were obvious: if               the Merger were consummated, the two

major national competitors in the mHk processing husiness, and therefore, the two largest

purchasers of raw Grade A milk in thc country, would consolidate their power and stifle

competition.            With regard to the vertical implications, the DOl was concerned about Dcan

Foods' resulting relationship with DFA. First, DPA owned a 33.8% share of SDG. Second,




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Suiza had a full-supply agreement with DFA that gave DFA the exclusive right to provide fluid

Grade A milk to all ofSuiza's bottling plants.

           74.          Fonner Dean Foods, Suiza and DFA made plans to circumwnt the DOJ's

concerns because their ultimate goal, in fuherance of the conspiracy, was to achieve the market

conditions that the DOl precisely sought to prevent. Furthermore, all three companies were

specifically aware of              how their consolidation would impact the milk market in the Southeast.

           75.          Beginning at least as early as February 22, 2001, at the Quarterly Meeting of                      the

Suiza Board of Directors, Suiza directors had detailed discusslOns about the potential antitrust

implications of the proposed merger. Defendant Engles, the Chairman of the Suiza Board of

Directors and Chief Executive Officer of Suiza, who would later become the Chairman of the

Board and Chief Executive Officer of Dean Foods, led these conversations and was integral to

devising the strategy to skirt the DOJ's conce11S.                                        The discussions about the antitrust

implications of the merger continued both in Special Meetings of the Suiza Board of Directors

and during the usual meetings of                   the Suiza Board ofDIrectors throughout the year.

           76.          After munths of negotiations with the companies, the DOl established several

condittons that would have to be met by the two companies In order to approve the Merger. The

DOJ required that the Former Dean Foods and Suiza take the fol1owing actions:

                        a.         The merged company would divest 11 fluid Grade A bottling plants;

                        b.         The merged company would buyout DF A's 33.8% share in SDG; and

                        c.         The merged company would modify the full-supply agreement between

                                   Suiza and DF A so that the mcrgcd company could buy raw Grade A milk

                                   from producers other than DF A.




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       77.    Throughout the negotiations, it was evident that Suiza's and Fommer Dean Foods'

primary goal was to consolidate; milk production as much as possible and get as many dairy

farmers, independent dairy fanners, and other dairy cooperattves as possible to go through DFA

in OTder to sell raw milk to thc merged company.

       78.    Taking into account the DOl's conditions, Fommer Dean Foods and Suiza

structured the Merger as follows:

              a.      Suiza would acquire all outstanding shares of Former Dean Foods for an

                      exchange of$21.00 in cash and .429 shares of          the newly fommcd company;

              b.      Suiza's Board of Directors, consisting of 10 directOTs, would become the

                      Dean Foods' Board of Directors.                In addition, Suiza would add five

                      Fonner Dean Foods' assignees to the Dean Foods' Board of Directors.

                      Thus, the Board of Directors of the newly fonned company would have 15

                      total directors;

              c.      Upon the completion of the Merger, the newly fonned company would

                      continue operating under the name "Dean Foods Company";

              d.      Dean Foods would divest 11 fluid Grade A bottling plants to NDH;

              e.      Dean Foods would buyout DFA's 33.8% share in SDG for $166 mi1ion

                      in cash and a subordinated promissory note in the principal amount of $50

                      million (the "Note"); and

              f       Dean Foods would modify the full-supply agreemcnt between Suiza and

                      DFA to require the newly merged company to pay DFA up to $80 milion

                      in liquidated damages for breaching the agreement.




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           79.         On November 15, 2001, Suiza held its Quarerly Meeting of íts Board of

Directors. Again, the Suiza Board of Directors discussed the status of the DOJ's review of the

proposed merger. The Suiza Board of Directors specifically discussed the DOI's concern with

regard to the Company's relationship with DlA and NOlL.

           80.        On December 5, 2001, at a Special Meeting of the Board of Directors of Suiza,

Defendant Engles informed the Suiza Board of directors about the most recent response of the

DOl, Le., that the proposed actions that the Suiza Board of             Directors had agreoo to take to satisfy

the DOl's antitrst concerns surrounding the Merger were stil not sufficient for DOl to approve

the Merger.

           81.        The DOJ further required the Company to "loosen" its relationship with NDH by

amending the payments provisions of the Note and the liquidated damages payable to DFA.

With regard to the fun-suppiy agreement with DF A, the Suiza Board of                Directors agreed that the

Company would modify its agreement with DFA such that the Company would pay DFA up to

$47 milion in liquidated damages, as opposed to the $80 milion that was origina11y proposed


and approved by the Suiza Board. The Company also agreed to exclude from the operation of

thc $50 mi11îon Note and the liquidated damages provisions certain markets where the Company

and NDH would compete most heavily.

           82.        On December 2 t, 2001, the Suiza Board of Directors voted on the final terms of

the Merger that it had agreed upon with the DOl:

                      a.         Suiza would acquire all outstanding shares of Former Dean Foods for an

                                 exchange of $21.00 in cash and .429 shares of newly fonned company;

                      b.         Suiza's Board of Directors, consisting of 10 directors, would become the

                                 Dean Foods' Board of Directors.         In addition, Suiza would add five




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                              Former Dean Foods' assignees to the Dean Foods' Board of Directors.

                              Thus, the Board of   Directors of   the m:wly fonned company would have 15

                              total directors;

                       c.     Upon the completion of thc Merger, the newly formed company would

                              continue operating under the name "Dean Foods Company";

                       d.     Dean Foods would divest 11 fluid Grade A bottlng plants to NDH;

                       c.     Dean Foods would buyout DFA's 33.8% share in SDG for $166 milllon

                              1n cash and a subordinated promissory note in the principal amount of $50

                              milion (the "Note");

                              Dean Foods would modify the full-supply agreement between Suiza and
                       £
                              DFA to require the newly formed company to pay DFA up to $47 milion

                              in liquidated damages for breaching the agrecmcnt; and

                       (1
                       o.     Dean Foods would exclude from the operation of the $50 milion Note and

                              the $47 milion liquidated damages provision certain markets where the


                              Company and NDH w01lld compete most heavily.

           83          Through unanimous wTTtten consent, the Board of Directors of Suiza voted to

approve the Merger with Former Dean Foods.

Effects of the Mere:er

           84.         As a result of the Merger, Dean Foods was able to establish a monopsony and

foreclose access to the fluid Grade A milk bottling business in the Southeast.

           85.         Throughout the negotiations leading up 10 the Merger, Former Dean Foods and

Suiza, along with their respective boards of directors, intenttonally agreed to take actions to

make it appear as if        the companies were making a good fàith cffòrt to satisfy the DOl's antitrust

concerns, when in reality the companies and their respective boards of directors were engaging


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in anti-competitive conduct. In fact, the strucmre and effectuation of the Merger actually led to

further consolidation and less competition in the milk market both nationally and in the

Southeast. Since the Merger, Dean Foods has continued to take actions and make agreements

that skirt the restrictions imposed on the Company during it" format1on-

       86.     For each of the DOl's requirements established durng the Merger, Dean .Foods

had a specific plan to fuher the conspiracy to foreclose the milk market:

               a.     Divestiture of 11 plants to NDH:                    This divestiture did not promote

                      competition because the disposition was not made to an independent thh.d

                      pary that would help avoid market manipulation, but rather to a company

                      that is owned and controlled by another member of              the conspiracy. NDH,

                      the entity to which Dean Foods divested the bottling plants, was devised

                      by Dean and DFA and estabJished and funded by DFA. Today, DFA has

                      an 87.5% ownership stake in NDH and controls at least 50% of its voting

                      shares.

              b-      Modification oftlle full-supply agreement with DFA: The modification

                      of the supply agreement did not allow Dean Foods to buy mdk from other

                      sources in addition to DF A because of the draconian liquidated damages

                      provision. The liquudated damages provision, agreed to by Dean Foods

                      voluntarily, makes it economically unviable for Dean Foods to obtain milk

                      from anyone but DF A. In reality, Dean Foods did not want to buy raw

                      milk fÌom any sources other than OF A. Dcan Foods wanted all ofthe raw

                      milk it purchased for processing to go through DF A in order to control the

                      price it paid for raw milk.




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               The modification of    the full-supply agreement has a profound effect on the

                Southeasl milk market. In 1977, the DOl imposed a consent decree upon

               DFA's predecessor, which decree remains in effect today against OrA,

               that prohibits DFA from entering into supply agreements with terms in

               excess of one year. In order to bypass the consent decree, Dean Foods and

               DF A entered into a series of 20 successive one-year agreements which

               grant DF A the exclusive right to slipply raw milk to Dean Foods' fluid

               Grade A milk bottling plants in the Southeast.

          c.    The $50 million Note given to DFA by Dean Foods as part of the

               payment for purchase of 33.8% of SDG: Dean Foods and DF A ensured

               that their full-supply agreement would be long-term by DFA agreeing to

               forgive the entire balance of the $50 million Note provided Dean Foods

               renews each ofthe 20 fun-suppiy agreements.


          d.   Excluding from the operation of the $50 million Note and the $47

               millon liquidated damages provision certain markets where the

               Company and NDH would compete most heavily: This stipulation is no

               concession for Dean Foods and has no practical implication because NDH

               is not a true competitor ()fDean Foods. NDH is a subsidiary ofDFA and

               was formed during the merger for the explicit purpose of giving DOJ the

               tàlse impression that Dcan Foods would havc competition in thc

               Southeast.




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Additional Actions Taken bv Dean Foods Since the Mer2:er to Ile2:ally Manipulate and
Control The Milk Market in the Southeast
           87.        FoUowing the Merger, Dean Foods anù DF A have continued to acquire fluid

Grade A milk bottling plants for the purose of increasing their dommance of the Southeast

market. They havc also closed down fluid Grade A milk bottling plants and/or have refused to

operate fluid Grade A milk bottling plants with the purose and effect of decreasing capacity and

eliminating access to fluid Grade A milk bottling plants for dairy fanners who were not members

of DFA and independent fanners who would not market their milk though one of DFA's

controlled atlìlates (SMA or OMS).

           88.        Dean Foods has also taken predatory actions in conjunction with DFA that are

indicative of the monopsony that Dean Foods has established in the Southeast fluid Grade A

milk market.


           89.        In late 2001 and in 2002, Dcan Foods and DF A informed Maryland & Virginia

Coop, a previously independent dairy cooperative, that Dean Foods' fluid Grade A milk bottling

plants would no longer accept fluid Grade A milk from Maryland & Virginia Coop members

because Dean Foods had established a full-supply agreement with DFA. Maryland & Virginia

Coop was further informed that the only way to obtain access to Dean Foods' and NDH's fluid

Grade A milk bottling plants in the Southeast was to join SMA, a DF A affiliate.

           90.        No mention was made to the members of the Maryland & Virginia Coop that: a)

by joining SMA, Maryland & Virginia Coop would lose the ability to negotiate price with Dean

foods, OF A and NDH on behalf of íts members, that task now being control1ed by DF A; b)

SMA and DF A would flood the Southeast market with Grade A milk fÌom the Southwest,

thereby further reducing the prices received by dairy faimer members of Maryland & Virginia

Coop; c) contrary to industry practice, SMA would pay the cost of      transporting the Grade A milk



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from the Southwest at exorbitant rates, dictate the hauler(s) to be used, and deduct the cost ITom

the mailbox price received by dairy farmer members of Maryland & Virginia Coop; and d) SMA

would not pennit financial accountability to its members.2                    The purpose of the activities

described in a) through d) has been to eliminate competition and to fix and stabilze prices paid

to Southeast dairy faners for fluid Grade A milk marketed or sold to or purchased by fluid

Grade A milk bottlers. These actions have been taken not only with the knowledge of the

Defendants, but have achieved their intent of          reducing Dean Foods' cost for fluid Grade A milk

           91.        Since 2002 and continuing to the present, Dean Foods and orA have jointly

punished a small Southeast cooperative for its refusal to join SMA by demanding, inter alia, that

DFA process Dean Foods' monthly payments to the sma11 cooperative, thereby enabling DFA to

monitor prices paid to the small cooperative and to deduct numerous wrongful fees and exptmses

ITom those payments.

           92.        In January 2003, Dean Foods infomied the independent dairy farmers in the

Southeast that were sellng to the Company directly that it would no longer pennit the fanners to

have direct access to its fluid Grade A milk bollling plants, but would instead require all

independent dairy farmers to market their fluid Grade A milk through DMS, a orA affliate, in

order to sell to their bottling plants. DF A' s conduct in the Southeast was part of a national


iniative to manipulate and control independent dairy production. During the month of January

2003, DFA announced that a11 2,500 independent daiiy farmers supplying milk to Dean Foods

throughout the UOlted States would be required to market their milk through OMS. This action

rcprcsents another way for Dcan Foods to direct milk revcnues through DF A as a quid pro quo



1 DF A does not provide its member farmers with a break down ofthe fïnancial perfonnance of its subsidiaries or its
joint ventures on a unit by unit basis even though the cash flow from member dairy farmers' milk sales are used for
collaterl for the cooperatives' debt obligations.




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for DF A to continue with the conspiracy and keep raw milk prices artificially low for the benefit

of   Dean Foods.

         93.   At the time of D FA's January 2003 arniouncemenl, independent dairy farmers


were informed only that Dcan Foods was "outsourcing" certain marketing functions. Ko mention

was made that, in fact, Dean Foods was conspiring with DF A, DMS, and SMA to fix and

suppress over-order premiums paid by Dean Foods, not only to DF A member dairy farers, but


also to independent dairy fanners. The effect of these activities has been to eLimínate competition

and to fix and stabilize prices paid to Southeast dairy farmers for their fluid Grade A milk.

         94.   In August 2006, Dean Foods, on the basis of its fuH-supply agreement with DFA,

refused to discuss a fluid Grade A milk supply agreement with U.S. Milk, a newly-formed

Southeast organization consisÖng of a variety of independent dairy farmers and independent


cooperative members.

        95.    To further ensure compliance with the conspiracy, Dean Foods and DF A require

that DFA receive, process, and account for DFA-controlled marketing agencies' member

cooperatives' monies from fluid Grade A milk sales. This allows DFA to monitor fluid Grade A

milk sales by other Southeast cooperatives and independent dairy fanners, and allows DF A to


confirm that these sales are compliant with the conspiracy to control the marketing, sale, and

purchase of fluid Grade A milk by fluid Grade A milk bottlers in the Southeast.

        96.    Dean Foods and OF A havt: agreed to use BullsEye exclusively for hauling milk in

thc Southcast and fi-om the Southwest to the Southeast.           Upon 11fonnation and belief,

BullsEye's shipping charges are nearly twice as high as othel" Grade A milk haulers' rates

because, upon information and belief, Baird transports unnecessarily large quantities of

Grade A milk for SMA ff.om ihe Southwest to the Southeast, and also transports Grade A milk




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for SMA mmecessarily long distances within the Southeast. By flooding the Southeast milk

market with fluid Grade A milk produced outside of            the region, Dean Foods and DFA are able

to reduce the blended average prrce for milk, which in turn reduces the mailbox prrces


received by dairy farmers in the Southeast.

           97.        In exchange for the extremely luerative business provided to BullsEye by SMA,

Baid informs SMA, and in turn, DFA and Dean Foods, about the amounts, origins and

destinations of nearly all Grade A milk shipped in Uie Southeast. As a result, Dean Foods and

Dr A are able to monitor the Grade A milk market from yet another angle in order to fix prices

paid by bottlers for raw Grade A milk.

           98.        By agreeing and requiring that all fluid Grade A milk flow through DF A or one of

its affliates to gain access to l1uid Grade A milk bottling plants in the Southeast, Dean Foods

and Dr A have created a mechanism by which each could exchange price information and

thereby monItor with the success of their conspiracy to fix, depress and stabilize the priee paid to

dairy farmers. This jointly enforced price monitoring mechanism ensures that each bottler can

operate comfortable in the knowledge that it will not have competition on the price of fluid

Grade A milk.

Antitrust Investhmtion

           99.        In August of 2004, the DOJ formally launched an antitrust investigation against

Dean Foods, DF A and NOH. The investigation developed momenturn quickly, and this federal

investigation led to state investigations around the country. Specifically, twenty state Attorneys

General began to investigate antitrust violations on the state leveL. Eventually, the federal and

state investigations narrowed their focus to activities in the Southeast because DFA had nearly

absolute control over the supply of raw milk and Dean Foods, through its fun-suppiy agreement




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with DF A, was buying raw milk at prices well below market value. The federal antitrst

investigation came to an end in August of 2006. The antitrust dairy team that conducted the two

year investigation submitted its final recommendatiom; lo DOl's lop o11cials all Augusl 28,

2006. The team recommended that the DOl indict Dean roods, DrA and NDH                                  Given the

earning clections in November 2006, it was presumed that an indictment would not be issued

before. the election.      To date, no further steps have been taken by the DOl to pursue the

recommendation to indict.

Autitrust Liti2ation

         100.     The actions of Fonner Dean Foods, Suiza, Dean Foods, and DFA recounted

above have led to the fillng of several antitrust actions against Dean Foods, among others.3 This

class action was filed on behalf of all DFA member dairy farmers and all independent dairy

fanners and independent cooperative members who prodlJced Grade A milk for Dean Foods,

DF A or one of their respective agents at any time from J aiiuary 1, 2001 to the present. The class

action plaintiffs allege that having unlawfully obtained control of and foreclosed access to the

Southeast fluid Grade A milk bottlers, Dean Foods and DF A have used their dominance to.

                  a) fix, suppress, and maintain the over-order payments fhud Grade A milk bott1ers

                     in the Southeast pay for fluid Grade A milk marketed or sold by or purchased

                     from dairy fanners in the Southeast;


3 On July 5, 2007, twO similar class action antitrust complaints captioned, SweeMater Valley Farm, Inc.., et at. 1'.
Dean Foods Co.. el a/., Case No. I :07-cv-0051 and James d. Bailey. et at. v. Dean Foods Co., et al., No. I:07-cv-
0052 were filed in the United States District Court for the Middle Distrct of Tennessee. Additional similar class
action antitrust complaints captioned Fidel Breto, eic. v. Dean Foods Co., el al., Case No. 2:07-cv-188 and Scott
DaiJy Farms, Inc.. et al. v. Dean Foods Co., et aI., Case No. 2:07-208, were filed in the United States Court for the
Eastern District of Tennessee on August 9, 2007 iind August 27, 2007, respeciively. By Order dated January 7,
200R, the United States Judicial Panel of Multidistrict Litigation transfelTed and centralized these cases into the
Eastern District of Tennessee under the caption in re: Southeastern Milk Anttlnrst Litigation, MDL No. 1899,
Master File No. 2:0!!-MD-IOOO. On April 1,200::1, the Sweetwater, Bailey, Breto and Scatt Dairy actions and three
other similar antitrust class actions were consolidated andíor coordinated under Master File '10. 2:08-MD-l000 (the
"Antitrust Litigation"). A Corrected Consolidated Amended Complaint was filed on August 4, 2008.


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               b) ensure that the bottlers do not have to compete, as they would in a fair market,

                       for the price at which they buy fluid Graùe A milk produced in the Southeast;

                       and

                   c) ensure that Southeast dairy farmers do not have a viable alterative for selling

                       their Grade A milk at prices above the fixed and stabilized prices established

                       by the Dean Foods, DF A, and NDH conspiracy.

                    DERIVATIVE AND DEMAND EXCUSED ALLEGATIONS

        101        Plaintiff incorporates by reference all preceding and subsequent paragraphs as if

fully set fort herein.

        102.       Plaintiff brings this action derivatively in the right and for the benefit of Dean

Foods to redress breaches of fiduciary duty by the Individual Defendants.

        103.       Plaintiff wil adequately and fairly represent the interests of Dean Foods and its

shan:holders in enforcing and prosecuting its rights.

        104.       Plaintiff is a shareholder of Dean Foods, was a shareholder of Dean Foods at the

time of the wrongdoing alleged herein, and has been a shareholder of Dcan Foods continuously

since that time.

        105.       As a result of   the facts set forth herein, Plaintiff   has not made any deiiand on tlie

Dean Foods Board of Directors to institute this action against the lndividual Defendants. Such

demand would be a futile and useless act because the Board is incapable of making an
independent and disinterested decision to institute and vigorously prosecute this action.

        106.   At the time this action was commenced, the Board consisted of eleven (J 1 )

directors: defendants Engles, Col1ens, Davis, Green, Hardin, Hil, Kirk, Muse, Nevares, Schenkel

and Turner.        The following directors arc incapable of independently and disinterestedly

considering a demand to commence and vigorously prosecute this actton:


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                       a.         Defendants Engles, Davis, Green, Hardin, Muse, Nevares, Schenkel and
                                  Turner, as members of Suiza's board of direetors, and Defendants Collcns
                                  and Hil, as members of Fonner Dean Foods' board of directors, because
                                  they face a substantiallikelihood of liability for breaching their fiduciary
                                  duties by planning and executmg the Merger and the resulting transactions
                                  to circumvent the DOl's antitrst concerns, of which they had actual
                                  knowledge, thcrcby initiating the antitrust conspiracy- Accordingly,
                                  Defendants Engles, Davis, Green, Hardin, Muse, N evares, Schtmkel,
                                  Turner, Co         l1ens and Hil are incapable of disinterestedly and
                                  independently considering a demand to commence and vigorously
                                  prosecute this action.

                       b.         Detèndants Engles, Collens, Davis, Green, Hardin, Hil, Kirk, Muse,
                                  Nevares, Schenkel and Turner (the entire Board), because they face a
                                  substantial likelihood of liabilty for breaching their fiduciary duties by
                                  taking further actions, as described hereing, to faciltate and cOtltinue the
                                  ilegal scheme to fix fluid Grade A milk prices post the Merger, and
                                  therefore are incapable of disinterestedly and independently considering a
                                  demand to commence and vigorously prosecute this action.

                       c.         Defendant Engles, because Engles' principal professional occupation is
                                  his employment as Chief Executive Offcer of the Company. As Chief
                                  Executive Ofìicer of the Company, Engles stands to earn milions of
                                  dollars in annual salary, bonuses, and other compensation, all of which
                                  must be approved by the Compensation Committee, curently comprised
                                  of defendants Green, Hardin, Muse and Turner. Specifically, in 2007,
                                  Engles received total compensation of $8,152,798. In 2006, Engles
                                  received total compensation of $11,025,493. Accordingly, Engles is
                                  incapable of independently and disinterestedly considering a demand to
                                  commence and vigorously prosecute this action against those defèndants
                                  who control his annual compensation.

           107.       Furthennore, demand is excused because the misconduct complained of herein

was not, and could not have been, an exercise of good faith business judgment. As demonstrated

hereIn, the Company's Board, which was tasked with oversecing compliance with thc

Company's Code of Ethics, engaged in conduct in direct violation of the Code of Ethcs in the

fonn of anticompetitive business practices and insider sales of                       the Company's stock on the basis

of thell knowledge of the Company's anti                          competitive business practices, as well as ordering or

permitting the other Individual Defendants to cause the Company to engage in these

anticompetitive practices or sell Dean Foods stock on the basis of inside infommation.


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           108.       The Individual Defendants' scheme to cause the Company to engage in ilegal

anticompetilive business practices cannut be a valid exercise of                business judgment because iL has

subjected Dean Foods to potentially massive liability. Dean foods wí1 likely suffer significant

damages in resolving the Antitrust Litigation and the potential DOJ indictment, and the

Individual Defendants have tarnished the Company's reputation in the investment community

through ths deliberate and ca1culated conduct.


                                                                   COUNT I

                     M'linst the In,.~vid"al Defendants for Breach of Fiduciarv Dutv
           109.       Plaintiff incorporates by reference and real           leges each and every allegation set

forth above, as though fully set fèèrth herein.

           110.       As alleged in detail herein, each of the Individual Defendants had a fiduciary duty

to, among other things, operate the Company 11 a dihgent, honest and prudent maner in

compliance with the Company's by-laws, internal governance documents and all applicable

íèderal and state laws, rules, regulations and requirements.

           111        As alleged in detail herein, the Individual Defendants breached their fiduciary


duttes by, among other things, engaging in an ilegal scheme to tìx prices for fluid Grade A milk

through anticompetitive practices designed to restrict independent dairy farers' access to fluid


Grade A milk bottling plants.

           112        As a ùirect anù proximate result of the Individual Defendants' breaches of


fiduciary duties, the Company has sustained damages, including, but not límited to the costs and

expenses associated with defending the Antitrust Litigation, the costs and expenses associated

with the DOJ investigation and potential indictment and reputattonal costs.




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                                                   COU~T II
                              Al!ainst the Co-consDirator Defendants
            For Aidinii and Abettine the Individual Defendants Breach of Fiduccarv Dutv

            113.      Plaintiff incorporates by reference and rea1leges each and every allegation set

forth above, as though fully sel forth herein.

            114.      The Co-conspirator Defendants aided and abetted tne Individual Defendants'

breachcs of fiduciary duties by undertaking certain actions, as described herein, which permitted

consummation of the Merger, but were anti            competitive in nature, and by conspiring to restrict

independent dairy farmers access to fluid Grade A milk bottlíng plants thereby facilitating the

Individual Defendants ability to cause the Company to engage 11 anI1c011petitive pracbces.

            115.      lhe Individual Defendants havc a fiduciary relationship with Dean Foods, and the

Co-conspirator Defendants knew that the Individual Defendants were breaching their fiduciary

duty to Dean Foods by causing the Company to engage in anticompetitive practices-

                                              PRA YER FOR RELIEF

            WHEREFORE, Plaintiff demands judgment as fol1ows:

            A.        Against all of the Individual Defendants and in favor of the Company for the
                      amount of damages sustained by the Company as a result of the Individual
                      Defendants' breaches of fiduciary duties;

            B.        A warding to Plaintiff the costs and disbursements of the action, including
                      reasonable attorneys' fees, acc01U1tants' and experts' fees, costs, and expense.'ì;


            C.        Appropriate equitable relief to remedy the Individual Defendants' breaches of
                      fiduciary dutics; and

            D.        Granting such other and fuuiher relief as the Court deems Just and proper.

                                            JURY TRIAL DEMANDED

Plaintiff    hereby demands a trial by jury.

Dated: April13, 2009.




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                                           Respectfuly Submitted,



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                                                                      VERIFICATION
I, Richard Livenore, hereby verity that I have authorized the filing of                 the atthed Shareholder Derivative Complaint,
that I have reviewed the Shaeholder Derivative Complaint, an tht the facts therein are tn and COITeet to the best of
my knowledge, ínformtion and belief. I declar under                       penalty ofperjur tht the foregoing is tre and com~ct



DATE: "3 - "2CC-óq



                                                      ~                                                I
